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Vv. Case No. = 3:24-cr -50(S1)-WWB-SJH
18 U.S.C. § 1701
REKISHA DUCKWORTH

INFORMATION

The United States Attorney charges:

COUNT ONE

At some time unknown to the United States Attorney but no earlier than
January 6, 2023, and no later than March 1, 2023, in the Middle District of Florida,
REKISHA DUCKWORTH,
the defendant herein, knowingly and willfully did obstruct and retard the passage of
mail, specifically, a parcel containing a Target gift card and a bracelet.
In violation of 18 U.S.C. § 1701.

ROGER B. HANDBERG
United States Attorney

By: Xa IVA Ch Kot
AURA COFER TAYLO

Assistant United uae tomey

Assistant United States Attorney
Deputy Chief, Jacksonville Division
